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March 14, 2023

VIA ECF FILING

The Honorable Douglas E. Arpert

U.S. Magistrate Judge

United States District Court

Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street, Room 2020

Trenton, NJ 08608

Re: Goydos, et al. v, Rutgers, The State University, et al.
Case No. 3:19-cv-08966-GC-DEA
Dear Judge Arpert:

This is to confirm the advice from Your Honor’s Chambers that earlier today the Court
entered an Order referring this action to mediation with U.S. Chief Judge Freda L. Wolfson (Ret.),
as a result of which all proceedings and deadlines are stayed, including but not limited to those
pursuant to Local Civil Rule 7.1(i) (Motions for Reconsideration), and Federal Rules of Civil
Procedure 12(a)(4)(a) (Time to Answer after Rule 12(b)(6) ruling), and Fed. R. Civ. P. 59 and 60.

We thank the Court for its consideration.

Respectfully submitted,
JACKSON LEWIS P.C.

   

JKB/Ics
ce: Shaun I. Blick, Esq. (By ECF Filing)

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